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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

 

ROGER SHEAK,

Pie - Case No. 3:18 — CV-00269-MPS

Vv.

N&B AUTO SALES, L.L.C., ET AL :
Defendants, : APRIL 23, 2018

 

DEFENDANT CONNEX CREDIT UNION, INC.’S
ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFEF’S
COMPLAINT AND CROSS-CLAIM
I. INTRODUCTION

is It is admitted that the plaintiff's case is ostensibly brought pursuant to the

statutes and causes of action alleged. The remaining allegations of Paragraph | are denied.
Il. PARTIES

2. The defendant, Connex Credit Union, Inc. (“Connex”), has insufficient
information or knowledge within which to form a belief, and therefore, neither admits nor
denies the allegations in Paragraph 2.

a The defendant, Connex, has insufficient information or knowledge within
which to form a belief, and therefore, neither admits nor denies the allegations in Paragraph

3.

4, The defendant, Connex, admits the allegations contained in Paragraph 4.
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Ill. JURISDICTION

5, The defendant, Connex, has insufficient information or knowledge within
which to form a belief, and therefore, neither admits nor denies the allegations in Paragraph
5,

6. The defendant, Connex, admits the allegations contained in Paragraph 6.

7. The defendant, Connex, admits the allegations contained in Paragraph 7.

IV. FACTUAL ALLEGATIONS

8. The defendant, Connex, has insufficient information or knowledge within
which to form a belief, and therefore, neither admits nor denies the allegations in Paragraph
8,

9. The defendant, Connex, has insufficient information or knowledge within
which to form a belief, and therefore, neither admits nor denies the allegations in Paragraph
5.

10. The defendant, Connex, has insufficient information or knowledge within
which to form a belief, and therefore, neither admits nor denies the allegations in Paragraph
10.

11. The defendant, Connex, has insufficient information or knowledge within
which to form a belief, and therefore, neither admits nor denies the allegations in Paragraph
lL.

12. The defendant, Connex, has insufficient information or knowledge within

which to form a belief, and therefore, neither admits nor denies the allegations in Paragraph

}2.
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13. The defendant, Connex, has insufficient information or knowledge within
which to form a belief, and therefore, neither admits nor denies the allegations in Paragraph
13.

14. The defendant, Connex, has insufficient information or knowledge within
which to form a belief, and therefore, neither admits nor denies the allegations in Paragraph
14.

15. The defendant, Connex, admits the allegations contained in Paragraph 15.

16. The defendant, Connex, has insufficient information or knowledge within
which to form a belief, and therefore, neither admits nor denies the allegations in Paragraph
16,

17. The defendant, Connex, has insufficient information or knowledge within
which to form a belief, and therefore, neither admits nor denies the allegations in Paragraph
Vi.

18. The defendant, Connex, has insufficient information or knowledge within
which to form a belief, and therefore, neither admits nor denies the allegations in Paragraph
18.

19, The defendant, Connex, has insufficient information or knowledge within
which to form a belief, and therefore, neither admits nor denies the allegations in Paragraph
19,

20. The defendant, Connex, has insufficient information or knowledge within

which to form a belief, and therefore, neither admits nor denies the allegations in Paragraph

20.
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21. The defendant, Connex, has insufficient information or knowledge within
which to form a belief, and therefore, neither admits nor denies the allegations in Paragraph
21,

22. The defendant, Connex, has insufficient information or knowledge within
which to form a belief, and therefore, neither admits nor denies the allegations in Paragraph
22,

23. The defendant, Connex, has insufficient information or knowledge within
which to form a belief, and therefore, neither admits nor denies the allegations in Paragraph
23.

24. The defendant, Connex, has insufficient information or knowledge within
which to form a belief, and therefore, neither admits nor denies the allegations in Paragraph
24,

25, The defendant, Connex, has insufficient information or knowledge within
which to form a belief, and therefore, neither admits nor denies the allegations in Paragraph
25.

26. The defendant, Connex, has insufficient information or knowledge within
which to form a belief, and therefore, neither admits nor denies the allegations in Paragraph
26.

27, The defendant, Connex, has insufficient information or knowledge within
which to form a belief, and therefore, neither admits nor denies the allegations in Paragraph

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28. The defendant, Connex, has insufficient information or knowledge within
which to form a belief, and therefore, neither admits nor denies the allegations in Paragraph
28.

29. The defendant, Connex, has insufficient information or knowledge within
which to form a belief, and therefore, neither admits nor denies the allegations in Paragraph
29.

30. The defendant, Connex, has insufficient information or knowledge within
which to form a belief, and therefore, neither admits nor denies the allegations in Paragraph
30.

31. The defendant, Connex, admits that on December 22, 2017, plaintiff, by his
attorney, purported to notify Connex that he revoked his acceptance of the Vehicle. It is
denied that the plaintiffs purported revocation was valid. The remaining allegations of
Paragraph 31 are denied.

32. The defendant, Connex, has insufficient information or knowledge within
which to form a belief, and therefore, neither admits nor denies the allegations in Paragraph
32.

33. The allegations contained in Paragraph 33 state a conclusion of law, to which
no responsive pleading is required. To the extent that a responsive pleading is required, the
defendant, Connex, has insufficient information or knowledge within which to form a belief,
and therefore, neither admits nor denies the allegations in Paragraph 33.

V. CAUSES OF ACTION

A. TRUTH IN LENDING ACT -—N & B ONLY
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34-38. The defendant, Connex, does not respond to the allegations of Paragraphs 34
through 38 because they are not directed to said defendant.

B. BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY CLAIM -
BOTH DEFENDANTS

39, The defendant, Connex, has insufficient information or knowledge within
which to form a belief, and therefore, neither admits nor denies the allegations in Paragraph
39.

40. The defendant, Connex, has insufficient information or knowledge within
which to form a belief, and therefore, neither admits nor denies the allegations in Paragraph
40.

41, The defendant, Connex, has insufficient information or knowledge within
which to form a belief, and therefore, neither admits nor denies the allegations in Paragraph
4],

42. The defendant, Connex, has insufficient information or knowledge within
which to form a belief, and therefore, neither admits nor denies the allegations in Paragraph
42.

43. The defendant, Connex, has insufficient information or knowledge within
which to form a belief, and therefore, neither admits nor denies the allegations in Paragraph
43.

44. The defendant, Connex, has insufficient information or knowledge within

which to form a belief, and therefore, neither admits nor denies the allegations in Paragraph

44,
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45, The defendant, Connex, has insufficient information or knowledge within
which to form a belief, and therefore, neither admits nor denies the allegations in Paragraph
45,

46, The defendant, Connex, denies the allegations contained in Paragraph 46.

47. The defendant, Connex, denies the allegations contained in Paragraph 47.

C. BREACH OF EXPRESS WRITTEN WARRANTY CLAIM

48, The defendant, Connex, has insufficient information or knowledge within
which to form a belief, and therefore, neither admits nor denies the allegations in Paragraph
48.

49, The defendant, Connex, has insufficient information or knowledge within
which to form a belief, and therefore, neither admits nor denies the allegations in Paragraph
49,

50. The defendant, Connex, has insufficient information or knowledge within
which to form a belief, and therefore, neither admits nor denies the allegations in Paragraph
50.

51. The defendant, Connex, has insufficient information or knowledge within
which to form a belief, and therefore, neither admits nor denies the allegations in Paragraph
51.

32, The defendant, Connex, has insufficient information or knowledge within
which to form a belief, and therefore, neither admits nor denies the allegations in Paragraph

may
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53. The defendant, Connex, has insufficient information or knowledge within
which to form a belief, and therefore, neither admits nor denies the allegations in Paragraph
53.

54, The defendant, Connex, denies the allegations contained in Paragraph 54.

55. The defendant, Connex, denies the allegations contained in Paragraph 55.

D. RETAIL INSTALLMENT SALES FINANCE ACT

56. The defendant, Connex, has insufficient information or knowledge within
which to form a belief, and therefore, neither admits nor denies the allegations in Paragraph
56.

57; The defendant, Connex, denies the part of Paragraph 57 which alleges that it
has been restored to its precontractual position as nearly as possible. As to the remaining
allegations of Paragraph 57, the defendant, Connex, does not have sufficient information or
knowledge within which to form a belief, and therefore, neither admits nor denies.

58. The defendant, Connex, denies the allegations contained in Paragraph 58.

E. CONNECTICUT UNFAIR TRADE PRACTICES ACT

59. The defendant, Connex, has insufficient information or knowledge within
which to form a belief, and therefore, neither admits nor denies the allegations in Paragraph
59,

60. The defendant, Connex, has insufficient information or knowledge within
which to form a belief, and therefore, neither admits nor denies the allegations in Paragraph

60.
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61. The defendant, Connex, has insufficient information or knowledge within
which to form a belief, and therefore, neither admits nor denies the allegations in Paragraph
61.

62. The defendant, Connex, denies the allegations contained in Paragraph 62.

63. The defendant, Connex, denies the allegations contained in Paragraph 63.

PRAYER FOR RELIEF

The defendant, Connex, denies all of the allegations in the plaintiffs Prayer for

Relief and denies that the plaintiff is entitled to any relief.
AFFIRMATIVE DEFENSES

1. The plaintiff fails to state a claim, in whole or in part. upon which relief may
be granted against defendant, Connex.

2. As to some or all of the plaintiffs claims, the plaintiff lacks standing because
he has no cognizable injury.

3. The plaintiff's claims are time barred, in whole or in part, by the applicable
statute of limitations or by the equitable doctrines of laches, waiver or estoppel.

4, The plaintiff's claims are barred, in whole or in part, or must be reduced
because he failed to mitigate his alleged damages.

5. Any potential liability of defendant, Connex, which is expressly denied, is
subject to set-off or recoupment.

6. Any imposition of punitive damages against defendant, Connex, is barred to
extent that the manner in which the damages are calculated violates the Constitution of the

United States or the Constitution of the State of Connecticut.
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ds The defendant, Connex, avails itself of and adopts such other defenses raised
by any other defendants as may be applicable.
JURY DEMAND
The defendant, Connex, demands a trial by jury as to all issues.

CROSS-CLAIM AGAINST DEFENDANT, N & B AUTO SALES, LLC

l. On November 24, 2015, defendant N & B Auto Sales, LLC (“N&B”) and
defendant Connex entered into a Dealer Retail Agreement (“Agreement”).

2, Pursuant to the express terms of the Agreement, N&B agreed, warranted and
represented that it would comply with all applicable laws and that it would indemnify and
hold Connex harmless from and against any and all claims, loss, liabilities, expenses,
damages and costs, including reasonable attorney’s fees and court costs.

3. If the plaintiff sustained injuries and damages in the manner and at the time
and place alleged in his Complaint, and if it is found that this answering defendant, Connex,
is liable to plaintiff herein, all of which is specifically denied, then said answering defendant,
Connex, on the basis of contractual indemnification under the Agreement and/or common
law indemnification, is entitled to recovery from co-defendant N&B for all of any verdict or
judgment that plaintiff may recover against this answering defendant, Connex.

WHEREFORE, defendant, Connex, demands that defendant N&B be required to
indemnify it for any judgment that may be rendered against it in favor of the plaintiff,
together with the costs and disbursements of this action, and for any expenses incurred by
defendant, Connex, in defense thereof, including but not limited to attorney’s fees actually

expended.

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THE DEFENDANT,
CONNEX CREDIT UNION, INC.

/s/_ Jennifer Rignolt_CT27538
JENNIFER RIGNOLI, ESQ.
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CERTIFICATION

I hereby certify that on the 23" day of April, 2018, a copy of the foregoing
Appearance was filed electronically and served by mail on anyone unable to accept
electronic filling. Notice of this filing will be sent by email to all parties by operation of the
Court’s electronic filing system or by mail to anyone unable to accept electronic filing,
Parties may access this filing through the Court’s system.

/s/_ Jennifer Rignolt_CT27538
JENNIFER RIGNOLI, ESQ.

Federal Bar No. ct27538
Parrett, Porto, Parese & Colwell, P.C.

 

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